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               NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
             being done in connection with this case, at the time the opinion is issued.
             The syllabus constitutes no part of the opinion of the Court but has been
             prepared by the Reporter of Decisions for the convenience of the reader.
             See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


       SUPREME COURT OF THE UNITED STATES

                                             Syllabus

           FEDERAL BUREAU OF INVESTIGATION ET AL. v.
                           FIKRE

        CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                          THE NINTH CIRCUIT

          No. 22–1178. Argued January 8, 2024—Decided March 19, 2024
       Respondent Yonas Fikre, a U. S. citizen and Sudanese emigree, brought
         suit alleging that the government placed him on the No Fly List un-
         lawfully. In his complaint, Mr. Fikre alleged that he traveled from his
         home in Portland, Oregon to Sudan in 2009 to pursue business oppor-
         tunities there. At a visit to the U. S. embassy, two FBI agents in-
         formed Mr. Fikre that he could not return to the United States because
         the government had placed him on the No Fly List. The agents ques-
         tioned him extensively about the Portland mosque he attended, and
         they offered to take steps to remove him from the No Fly List if he
         agreed to become an FBI informant and to report on other members of
         his religious community. Mr. Fikre refused. He then traveled to the
         United Arab Emirates, where he alleges authorities interrogated and
         detained him for 106 days at the behest of the FBI. Unable to fly back
         to the United States, he ended up in Sweden, where he remained until
         February 2015. While there, he filed this suit, alleging that the gov-
         ernment had violated his rights to procedural due process by failing to
         provide either meaningful notice of his addition to the No Fly List or
         any appropriate way to secure redress. He further alleged that the
         government had placed him on the list for constitutionally impermis-
         sible reasons related to his race, national origin, and religious beliefs.
         Mr. Fikre sought, among other things, an injunction prohibiting the
         government from keeping him on the No Fly List and a declaratory
         judgment confirming the government had violated his rights. In May
         2016, the government notified Mr. Fikre that he had been removed
         from the No Fly List and sought dismissal of his suit in district court,
         arguing that its administrative action had rendered the case moot.
         The district court agreed with the government, but the Ninth Circuit




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         reversed, holding that a party seeking to moot a case based on its own
         voluntary cessation of challenged conduct must show that the conduct
         cannot “reasonably be expected to recur.” 904 F. 3d 1033, 1039. On
         remand, the government submitted a declaration asserting that, based
         on the currently available information, Mr. Fikre would not be placed
         on the No Fly List in the future, and the district court again dismissed
         Mr. Fikre’s claim as moot. The Ninth Circuit once again reversed,
         holding that the government had failed to meet its burden because the
         declaration did not disclose the conduct that landed Mr. Fikre on the
         No Fly List and did not ensure that he would not be placed back on the
         list for engaging in the same or similar conduct in the future. 35 F. 4th
         762, 770–772.
       Held: The government has failed to demonstrate that this case is moot.
        A court with jurisdiction has a “virtually unflagging obligation” to hear
        and resolve questions properly before it. Colorado River Water Con-
        servation Dist. v. United States, 424 U. S. 800, 817 (1976). But the
        converse is also true as a federal court must dismiss a case that is
        moot. Already, LLC v. Nike, Inc., 568 U. S. 85, 91 (2013). The limited
        authority vested in federal courts by Article III of the U. S. Constitu-
        tion to decide cases and controversies means that federal courts may
        no more pronounce on past actions that have no “continuing effect” in
        the world than they may neglect their obligation to hear and resolve
        questions properly before them. Spencer v. Kemna, 523 U. S. 1, 18.
        This does not imply that a defendant may “automatically moot a case”
        by the simple expedient of suspending its challenged conduct after it
        is sued. Instead, a defendant’s “voluntary cessation of a challenged
        practice” will moot a case only if the defendant can show that the prac-
        tice cannot “reasonably be expected to recur.” Friends of the Earth,
        Inc. v. Laidlaw Environmental Services (TOC), Inc., 528 U. S. 167, 189.
        This standard holds for governmental defendants no less than for pri-
        vate ones. Applying these principles to the uncontested factual allega-
        tions here, this case is not moot. While the government’s representa-
        tion that it will not relist Mr. Fikre may mean that his past conduct is
        not enough to warrant relisting, that does not speak to whether the
        government might relist him if he engages in the same or similar con-
        duct in the future. The government contends that because Mr. Fikre
        has been delisted since 2016 and has presumably interacted freely
        with his co-religionists during that time, it is unlikely he will face re-
        listing in the future. This too is insufficient to warrant dismissal. A
        defendant’s speculation about a plaintiff’s actions cannot make up for
        a lack of assurance about its own. The burden here is on the defendant
        to establish that it cannot reasonably be expected to resume its chal-
        lenged conduct, see West Virginia v. EPA, 597 U. S. 697, 719, and noth-
        ing the government offers here satisfies that formidable standard. The




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         government claims the Ninth Circuit erred by requiring it to repudiate
         its past conduct to prove mootness, but what matters is not whether a
         defendant repudiates its past actions, but what the defendant can
         prove about its future conduct. Coming as this case does in a prelimi-
         nary posture, the Court’s judgment is a necessarily provisional one. As
         the complaint’s allegations are tested, different facts may emerge that
         may call for a different result. But adhering to traditional mootness
         principles, the government has so far failed to meet its burden. Pp. 5–
         10.
       35 F. 4th 762, affirmed.

          GORSUCH, J., delivered the opinion for a unanimous Court. ALITO, J.,
       filed a concurring opinion, in which KAVANAUGH, J., joined.




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            NOTICE: This opinion is subject to formal revision before publication in the
            United States Reports. Readers are requested to notify the Reporter of
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            pio@supremecourt.gov, of any typographical or other formal errors.


       SUPREME COURT OF THE UNITED STATES
                                          _________________

                                          No. 22–1178
                                          _________________


          FEDERAL BUREAU OF INVESTIGATION, ET AL.,
                PETITIONERS v. YONAS FIKRE
        ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE NINTH CIRCUIT
                                       [March 19, 2024]

         JUSTICE GORSUCH delivered the opinion of the Court.
         Yonas Fikre, a U. S. citizen, brought suit alleging that the
       government placed him on the No Fly List unlawfully.
       Later, the government removed him from the list. The only
       question we are asked to decide is whether the govern-
       ment’s action suffices to render Mr. Fikre’s claims moot.
                                     I
                                     A
          In the aftermath of the September 11, 2001, terrorist at-
       tacks, the federal government rapidly expanded its No Fly
       List. By 2016, the government forbade approximately
       81,000 individuals from flying into, out of, within, or over
       the United States. Brief for American Civil Liberties Union
       et al. as Amici Curiae 5. Many of the details surrounding
       the No Fly List are not publicly available. Some are classi-
       fied, and it appears no statute or publicly promulgated reg-
       ulation describes the standards the government employs
       when adding individuals to, or removing them from, the
       list. Id., at 6.
          In his complaint, Mr. Fikre challenged his placement on
       the No Fly List. In support of his suit, he pleaded a number




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       of facts. Those as-yet uncontested factual allegations, the
       truth of which we do not pass upon, aver as follows:*
          When he was a child and war broke out in his home coun-
       try of Eritrea, Mr. Fikre and his family moved to Sudan be-
       fore eventually immigrating to the United States. App. to
       Pet. for Cert. 126a, Seventh Amended Complaint ¶4; id., at
       137a, ¶51. In time, Mr. Fikre became a U. S. citizen, and
       as an adult he lived in Portland, Oregon. Id., at 137a–138a,
       ¶¶51–52. After working for an American cell phone com-
       pany, he decided to start his own business involving the dis-
       tribution and retail sale of consumer electronic products in
       his native East Africa. Id., at 138a, ¶52. In pursuit of this
       new venture, he traveled to Sudan in late 2009 where some
       of his extended family still lived. Ibid.
          On arrival, Mr. Fikre informed U. S. officials of his inter-
       est in pursuing business opportunities in the country. Ibid.
       Eventually, he received an invitation to the U. S. em-
       bassy—ostensibly for a luncheon. Id., at 138a–139a, ¶¶53–
       55. But, once there, Fikre was whisked instead to a small
       meeting room with two FBI agents. Id., at 139a, ¶¶55–56.
       The agents told him that the government had placed him
       on the No Fly List, so he “could not return to the United
       States.” Ibid., ¶57. The agents then questioned him “ex-
       tensively about the events, activities, and leadership” of the
       Portland mosque he attended. Ibid., ¶58. They asked him
       to serve as an FBI informant and report on other members
       of his religious community, offering to “take steps to remove
       [him] from the No Fly List” if he agreed. Id., at 140a, ¶59.
       Mr. Fikre refused and eventually departed. Ibid. The next
       ——————
         * Responding to Mr. Fikre’s complaint with a motion to dismiss for lack
       of jurisdiction, the government did not contest his factual allegations,
       and the courts below thus assumed their truth. See Gibbs v. Buck, 307
       U. S. 66, 72 (1939); 5C C. Wright & A. Miller, Federal Practice and Pro-
       cedure §1363, p. 107 (3d ed. 2004) (“The general rule” for Rule 12(b)(1)
       motions challenging subject-matter jurisdiction is to take allegations “as
       true unless denied or controverted by the movant”). We do the same.




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       day, an agent told him over the phone that, “ ‘[w]henever
       you want to go home[,] you come to the embassy.’ ” Id., at
       140a–141a, ¶62. Mr. Fikre took this to mean that he “would
       not be removed from the No Fly List and he could not travel
       to the United States unless he became” an FBI informant.
       Id., at 141a, ¶62.
         Several weeks later, Mr. Fikre traveled to the United
       Arab Emirates to advance his business plans. Id., at 142a,
       ¶68. Eventually, however, authorities there “arrested, im-
       prisoned, and tortured him.” 35 F. 4th 762, 766 (CA9 2022);
       App. to Pet. for Cert. 142a–143a, Seventh Amended Com-
       plaint ¶¶69–71. They interrogated him, too, about his Port-
       land mosque, its events, leader, and fundraising activities.
       Id., at 143a, ¶72. One interrogator told Mr. Fikre that the
       FBI had solicited his interrogation and detention. Id., at
       147a, ¶88. After holding him for 106 days, authorities ar-
       ranged to have Mr. Fikre flown to Sweden where he had a
       relative. Id., at 147a, ¶86, 148a, ¶90. He remained there
       until February 2015, when the Swedish government re-
       turned him to Portland by private jet. Id., at 152a, ¶105.
                                     B
         While still in Sweden, Mr. Fikre filed this suit. In his
       complaint, he alleged that the government had violated his
       rights to procedural due process by failing to provide any
       meaningful notice of his addition to the No Fly List, any
       information about the factual basis for his listing, and any
       appropriate way to secure redress. Id., at 165a, ¶164. Fur-
       ther, he claimed, the government had placed him on the list
       for constitutionally impermissible reasons, including his
       race, national origin, and religious beliefs. Id., at 168a,
       ¶176. By way of relief, he sought a declaratory judgment
       confirming that the government had violated his rights, as
       well as an injunction prohibiting it from keeping him on the
       No Fly List. Id., at 169a–170a.
         Eventually, in May 2016, the government notified Mr.




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       Fikre that it had removed him from the No Fly List. No
       explanation accompanied the decision. See Notice Regard-
       ing Plaintiff ’s Status in No. 3:13–cv–899 (D Ore.), ECF Doc.
       98, p. 1. But, in court, the government argued that its ad-
       ministrative action rendered his lawsuit moot; even accept-
       ing all his allegations as true, the government said, dismis-
       sal had to follow as a matter of law. Supp. Memorandum
       Regarding Plaintiff ’s Removal From the No Fly List, ECF
       Doc. 104, pp. 2–4.
         The district court agreed with the government’s assess-
       ment, but the Ninth Circuit reversed. 904 F. 3d 1033
       (2018). When a party seeks to moot a case based on its own
       voluntary cessation of challenged conduct, the Ninth Cir-
       cuit held, it must show that its “ ‘allegedly wrongful behav-
       ior’ ” cannot “ ‘reasonably be expected to recur.’ ” Id., at
       1039. And, the court continued, the government’s “mere
       announcement that Fikre was removed” from the No Fly
       List fell short of satisfying this standard. Ibid.
         On remand, the government tried again. Once more, it
       did not contest the truth of Mr. Fikre’s allegations concern-
       ing his experiences. See Memorandum in Support of De-
       fendants’ Motion To Dismiss in No. 3:13–cv–899 (D Ore.),
       ECF Doc. 146, pp. 21–23. But, this time, the government
       relied on a declaration from Christopher R. Courtright, the
       Acting Deputy Director for Operations of the Terrorist
       Screening Center. The declaration represented that Mr.
       Fikre “will not be placed on the No Fly List in the future
       based on the currently available information.” App. to Pet.
       for Cert. 118a, ¶5. Persuaded by the government’s latest
       motion, the district court again dismissed Mr. Fikre’s
       claims as moot. 35 F. 4th, at 769.
         Again, however, the Ninth Circuit reversed. The govern-
       ment’s declaration might mean that Mr. Fikre “will not be
       placed on the No Fly List now based on what he did in the
       past.” Id., at 772. But, the Ninth Circuit reasoned, the dec-
       laration does not disclose what conduct landed Mr. Fikre on




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       the No Fly List, and it does not ensure that he will “not be
       placed on the List if . . . he . . . engag[es] in the same or sim-
       ilar conduct” in the future. Ibid. As a result, the court con-
       cluded, the government had still failed to meet its burden
       of establishing that its allegedly unlawful conduct cannot
       “ ‘reasonably be expected to recur.’ ” Id., at 770.
           Shortly after the Ninth Circuit issued its decision, the
       Fourth Circuit held that a similar declaration was suffi-
       cient to moot another American citizen’s lawsuit challeng-
       ing his placement on the No Fly List. See Long v. Pekoske,
       38 F. 4th 417, 427 (CA4 2022). To resolve this conflict in
       lower court authority, the government asked us to hear Mr.
       Fikre’s case, and we agreed to do so. 600 U. S. ___ (2023).
                                      II
         The Constitution grants federal courts jurisdiction to de-
       cide “Cases” or “Controversies.” Art. III, §§1, 2. A court
       with jurisdiction has a “virtually unflagging obligation” to
       hear and resolve questions properly before it. Colorado
       River Water Conservation Dist. v. United States, 424 U. S.
       800, 817 (1976). But the converse also holds true. Some-
       times, events in the world overtake those in the courtroom,
       and a complaining party manages to secure outside of liti-
       gation all the relief he might have won in it. When that
       happens, a federal court must dismiss the case as moot. Al-
       ready, LLC v. Nike, Inc., 568 U. S. 85, 91 (2013). It must
       because federal judges are not counselors or academics;
       they are not free to take up hypothetical questions that
       pique a party’s curiosity or their own. The limited authority
       vested in federal courts to decide cases and controversies
       means that they may no more pronounce on past actions
       that do not have any “continuing effect” in the world than
       they may shirk decision on those that do. Spencer v.
       Kemna, 523 U. S. 1, 18 (1998).
         None of this implies that a defendant may “automatically




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       moot a case” by the simple expedient of suspending its chal-
       lenged conduct after it is sued. Already, 568 U. S., at 91.
       Instead, our precedents hold, a defendant’s “ ‘voluntary ces-
       sation of a challenged practice’ ” will moot a case only if the
       defendant can show that the practice cannot “ ‘reasonably
       be expected to recur.’ ” Friends of the Earth, Inc. v. Laidlaw
       Environmental Services (TOC), Inc., 528 U. S. 167, 189
       (2000); see United States v. W. T. Grant Co., 345 U. S. 629,
       632–633 (1953).
          We have described this as a “formidable burden.” Friends
       of the Earth, 528 U. S., at 190. And the reason for it is sim-
       ple: “The Constitution deals with substance,” not strate-
       gies. Cummings v. Missouri, 4 Wall. 277, 325 (1867). Were
       the rule more forgiving, a defendant might suspend its chal-
       lenged conduct after being sued, win dismissal, and later
       pick up where it left off; it might even repeat “this cycle” as
       necessary until it achieves all of its allegedly “unlawful
       ends.” Already, 568 U. S., at 91. A live case or controversy
       cannot be so easily disguised, and a federal court’s consti-
       tutional authority cannot be so readily manipulated. To
       show that a case is truly moot, a defendant must prove “ ‘no
       reasonable expectation’ ” remains that it will “return to [its]
       old ways.” W. T. Grant Co., 345 U. S., at 632–633. That
       much holds for governmental defendants no less than for
       private ones. See., e.g., West Virginia v. EPA, 597 U. S. 697,
       719 (2022); Trinity Lutheran Church of Columbia, Inc. v.
       Comer, 582 U. S. 449, 457, n. 1 (2017); Parents Involved in
       Community Schools v. Seattle School Dist. No. 1, 551 U. S.
       701, 719–720 (2007).
          The parties dispute none of these principles; the only
       question we face concerns their application. Proceeding as
       the courts below did, we accept Mr. Fikre’s uncontested fac-
       tual allegations as true for purposes of this motion to dis-
       miss. See supra, at 2, n.*. As the lower courts did, too, we
       accept as true the supplemental evidence the government
       offered: its declaration representing that Mr. Fikre “will




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        not be placed on the No Fly List in the future based on the
        currently available information.” App. to Pet. for Cert.
        118a, ¶5.
           Viewed in that light, this case is not moot. To appreciate
        why, it is enough to consider one aspect of Mr. Fikre’s com-
        plaint. He contends that the government placed him on the
        No Fly List for constitutionally impermissible reasons, in-
        cluding his religious beliefs. In support of his claim, Mr.
        Fikre alleges (among other things) that FBI agents interro-
        gated him about a mosque in Portland he once attended and
        threatened to keep him on the No Fly List unless he agreed
        to serve as an informant against his co-religionists. Accept-
        ing these as-yet uncontested allegations, the government’s
        representation that it will not relist Mr. Fikre based on
        “currently available information” may mean that his past
        actions are not enough to warrant his relisting. But, as the
        court of appeals observed, none of that speaks to whether
        the government might relist him if he does the same or sim-
        ilar things in the future—say, attend a particular mosque
        or refuse renewed overtures to serve as an informant. Put
        simply, the government’s sparse declaration falls short of
        demonstrating that it cannot reasonably be expected to do
        again in the future what it is alleged to have done in the
        past. Friends of the Earth, 528 U. S., at 190.
           If its declaration alone will not do, the government asks
        us to consider two further things. First, it points to the fact
        that it removed Mr. Fikre from the No Fly List in 2016. The
        government acknowledges that it took this action only after
        he filed suit. But, it stresses, the parties have now sparred
        in court for some years since his delisting. Second, the gov-
        ernment surmises that, during this period, Mr. Fikre “pre-
        sumably has joined religious organizations” and interacted
        freely with his co-religionists. Reply Brief 9. Together, the
        government submits, these points make it unlikely he will
        face relisting in the future.
           That, too, is insufficient to warrant dismissal. A case




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        does not automatically become moot when a defendant sus-
        pends its challenged conduct and then carries on litigating
        for some specified period. Nor can a defendant’s speculation
        about a plaintiff ’s actions make up for a lack of assurance
        about its own. (For that matter, given what little we know
        at this stage in the proceedings, Mr. Fikre may have done
        none of the things the government presumes he has, per-
        haps wishing to but refraining for fear of finding himself
        relisted.) In all cases, it is the defendant’s “burden to es-
        tablish” that it cannot reasonably be expected to resume its
        challenged conduct—whether the suit happens to be new or
        long lingering, and whether the challenged conduct might
        recur immediately or later at some more propitious mo-
        ment. West Virginia, 597 U. S., at 719. Nothing the gov-
        ernment offers here satisfies that formidable standard. See
        Parents Involved, 551 U. S., at 719 (declining to dismiss a
        case as moot five years after the defendant voluntarily
        ceased its challenged conduct); City of Mesquite v. Aladdin’s
        Castle, Inc., 455 U. S. 283, 288–289 (1982) (similar).
          Aiming now in a different direction, the government con-
        tends that the Ninth Circuit erred by conflating mootness
        with the merits. The government reads portions of that
        court’s decisions as suggesting that, to win dismissal, it had
        to admit it lacked any lawful basis for including Mr. Fikre
        on the No Fly List in the first place. For his part, Mr. Fikre
        disputes this characterization of the Ninth Circuit’s work;
        never, he says, did that court require the government to re-
        pudiate its past conduct to prove mootness.
          Rather than resolve who has the better reading of an-
        other court’s decisions, it is enough to underline the reason
        for our own. Yes, a party’s repudiation of its past conduct
        may sometimes help demonstrate that conduct is unlikely
        to recur. See, e.g., County of Los Angeles v. Davis, 440 U. S.
        625, 632–633 (1979). But often a case will become moot
        even when a defendant “vehemently” insists on the propri-
        ety of “the conduct that precipitated the lawsuit.” Already,




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                              Opinion of the Court

        568 U. S., at 91. What matters is not whether a defendant
        repudiates its past actions, but what repudiation can prove
        about its future conduct. It is on that consideration alone—
        the potential for a defendant’s future conduct—that we rest
        our judgment.
           Necessarily, our judgment is a provisional one. Just be-
        cause the government has not yet demonstrated that Mr.
        Fikre’s case is moot does not mean it will never be able to
        do so. This case comes to us in a preliminary posture,
        framed only by uncontested factual allegations and a terse
        declaration. As the case unfolds, the complaint’s allega-
        tions will be tested rather than taken as true, and different
        facts may emerge that may call for a different conclusion.
        That is a possibility courts must be alive to in this (and any)
        case, for a federal court’s duty to ensure itself of Article III
        jurisdiction may begin at the inception of a lawsuit, but it
        persists throughout the life of the proceedings. Spencer,
        523 U. S., at 7.
           To be sure, litigating disputes that potentially touch on
        matters of national security beyond the motion-to-dismiss
        stage can present evidentiary challenges for parties and
        courts alike. Careful attention must be paid to the handling
        of classified or privileged information. For our present pur-
        poses, however, it is enough to know both sides agree that
        “[a]dhering to traditional mootness principles is especially
        important in this national-security context.” Reply Brief 18;
        see Brief for Petitioners 34; Brief for Respondent 45. And
        adhering to those principles here, “it is impossible to con-
        clude” the government has so far “borne [its] burden” of
        proving that this dispute is moot. Adarand Constructors,
        Inc. v. Slater, 528 U. S. 216, 224 (2000) (per curiam).
                                   *
          The judgment of the Court of Appeals for the Ninth Cir-
        cuit is
                                                        Affirmed.




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                              ALITO, J., concurring

        SUPREME COURT OF THE UNITED STATES
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                                  No. 22–1178
                                  _________________


           FEDERAL BUREAU OF INVESTIGATION, ET AL.,
                 PETITIONERS v. YONAS FIKRE
         ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                    APPEALS FOR THE NINTH CIRCUIT
                               [March 19, 2024]

           JUSTICE ALITO, with whom JUSTICE KAVANAUGH joins,
        concurring.
           I join the Court’s opinion, but write to clarify my under-
        standing that our decision does not suggest that the Gov-
        ernment must disclose classified information to Mr. Fikre,
        his attorney, or a court to show that this case is moot. In at
        least some instances, requiring the Government to disclose
        sensitive information regarding its grounds for placing or
        removing a person from the No-Fly List could undermine
        the Government’s significant interests in airline safety and
        the prevention of terrorist attacks. Indeed, some of the Na-
        tion’s 600-plus district courts are poorly positioned to han-
        dle classified documents, and most court personnel lack se-
        curity clearance. Recognizing such limitations, I do not
        understand the Court’s opinion to require the Government
        to disclose classified information as a matter of course. On
        the contrary, non-classified information or information ob-
        tained in discovery from the plaintiff in this and other cases
        may be sufficient to show that the allegedly unlawful listing
        is unlikely to recur, thereby proving mootness.




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